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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                               Page I of   ^   Pages


                                        United States District Court
                                                                      for the

                                                           Southern District of Georgia


                    United States of America
                                   V.


                         Vincent Sanders
                                                                                  Case No. 219-cr-3


                              Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C.§ 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change ofresidence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               Brunswick Federal Courthouse, 801 Gloucester Street, Brunswick, GA
                                                                                          Place




      on                                                         -hhoL  Date and Time


      If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond,if ordered.




$25,000 appearance bond, secured by third party surety. Surety is Carl Vincent Sanders, 10221 Carly Drive, Lakeland,
TN 38002.
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AO 199B (Rev. 12/11) Additional Conditions ofRelease
 Vincent Sanders                                                                                                                                   of       Pages
2:19CR00003                                                                                                                                   2^

                                                    ADDITIONAL CONDITIONS OF RELEASE

        rr IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( □ ) (6) The defendant Is placed in the custody of:
          Person or organization
               Address (only ifabove is an organization)
               City and state                                                                                       Tel. No.
 who agrees to (a) supervise the defendant, (b) use eveiy effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
 inunediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                             Signed:
                                                                                                        Custodian                                       Date

 (13) (7) The defendant must:
     (13) (a) submit to supervision by and report for supervision to the               SUPERVISING OFFICER AS DIRECTED                                  ,
                     telephone number                               , no later than                                            .
        (□)    (b)   continue or actively seek employment.
        (D )   (c)   continue or start an education program.
        (n)    (d)   surrender any passport to:
        (13)   (e)   not obtain a passport or other international travel document
        (13)   (f)   abide by the following restrictions on personal association, residence, or travel: TRAVEL IS RESTRICTED
                     TO THE SOUTHERN DISTRICT OF GEORGIA AND WESTERN DISTRICT OF TENNESSEE.
        (13) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                 including: CO-DEFENDANTS, UNLESS ARRANGED BY AND IN THE PRESENCE OF COUNSEL

        (□ ) (h) get medical or psychiatric treatment:

        (□) (i) return to custody each                         at             o'clock after being released at                  o'clock for employment, schooling,
                     or the following purposes:

        (CH) 0) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
        (13) (k) not possess a firearm, destructive device, or other weapon.
        (13) (1) not use alcohol ( O )atall( |3 ) excessively.
        (3) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                     medical practitioner.
        (□) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                     of prohibited substance screening or testing.
        (n) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                     supervising officer.
        (13) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                     (3) (i) Curfew. You are restricted to your residence every day ( |3 ) from                 10:00 PM           to   6:00 AM , or ( CD ) as
                                  directed by the pretrial services office or supervising officer; or
                     (IZI) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                  activities ^proved in advance by the pretrial services office or supervising officer; or
                     ( □ ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                  court appearances or other activities specifically approved by the court.
        (13) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                     requirements and instructions provided.
                     (13 ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                           supervising officer.
        (3) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                     arrests, questioning, or traffic stops.
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                                         ADDITIONAL CONDITIONS OF RELEASE
(^)(s) The defendant shall not possess or use an electronic device with access to any on-line service at any location without prior written
       approval ofthe probation ofiBcer. This prohibition includes any Internet service provider, any bulletin board qi'stem, or any other public
       or private computer network. The defendant shall not possess or use any computer for employment purposes without prior approval of
       the probation officer. The defendant shall consent to third-party disclosure to any employer, or potentiad employer, ofany computer-
            related restrictions imposed by the Court.

            The defendant shall not have contact with anyone under the age of 18 unless accompanied by a responsible adult and ^proved by the
            probation officer.
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AO 199C (Rev. 09/08) Advice of Penalties                                                                     Page   4    of   4   Pages

                                             ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

      Violating any ofthe foregoing conditions ofrelease may result in the immediate issuance ofa warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
      While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
      It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or mformant; or intimidate or
attempt to intimidate a wimess, victim,juror, mformant, or officer ofthe court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.
      If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
     (1) an offense punishable by death, life imprisonment, or imprisonment for a term offifteen years or more - you will be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonmentfor a term offive years or more, but less than fifteen years- you will be fined not
            more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fmed not more than $100,000 or imprisoned not more than one year, or both.
       A term ofimprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive- In
 addition, a failure to appear or surrender may result in the forfeiture ofany bond posted.

                                                     Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
 conditions ofrelease, to appear as directed, and surrender to serve any sentence imposed. 1 am aware ofthe penalties and sanctions set
forth above.




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                                                   Directions to the United States Marshal


( B)The defendant is ORDERED released after processing.
( n)The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant
    has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
         the appropriate judge at the time and place specified.


 Date: Z-j ^              ^^                                                         Judicial Officer's Signature


                                                                  BENJAMIN W.CHEESBRO, U.S. MAGISTRATE JUDGE




                    DISTRIBUTION:          COURT    DEFENDANT     PRETRIAL SERVICE     U.S. ATTORNEY          U.S. MARSHAL
